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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Numbers, State Bar Number & Email Address
 RICHARD G. HESTON, ESQ.
 HESTON & HESTON, Attorney at Law
 19700 Fairchild Road, Suite 280                                                                         FILED & ENTERED
 Irvine, CA 92612
 (949) 222-1041 Telephone
 (949) 222-1043 Facsimile                                                                                        JUN 15 2022
 rheston@hestonlaw.com
 SBN: 90738
                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY kaaumoanDEPUTY CLERK




                                                                                                CHANGES MADE BY COURT
     Chapter 13 Trustee
     Attorney for: Debtor
                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                      CASE NUMBER: 2:20-bk-12165-WB
                                                                             CHAPTER 13

 LISA ANN MCDANIEL                                                               ORDER    GRANTING      DENYING
                                                                              APPLICATION OF ATTORNEY FOR DEBTOR
                                                                                FOR ADDITIONAL FEES AND RELATED
                                                                                EXPENSES IN A PENDING CHAPTER 13
                                                                                  CASE SUBJECT TO A RIGHTS AND
                                                                                   RESPONSIBILITIES AGREEMENT
                                                                                   No hearing held
                                                                                   Hearing held
                                                                             DATE:
                                                                             TIME:
                                                                             COURTROOM:
                                                                             ADDRESS:


                                                             Debtor(s).


Based on the Application for Additional Fees and Related Expenses in a Pending Chapter 13 Case Subject to a Rights
and Responsibilities Agreement (Application) filed on (date) 5/26/2022 as docket number 25, the court orders as follows:

1.        The Application is granted and the Attorney for Debtor is allowed the sum of $833.00 as compensation for Additional
          Services and the sum of $12.94 in expenses related to Additional Services referred to in the Application, and the
          Chapter 13 Trustee is directed to pay the unpaid balance of $945.94 $845.94 from the estate of Debtor as funds
          permit.

2.        The Application is set for hearing on: (date)                         at (time)            .




            This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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3.      The Attorney for Debtor must file and serve appropriate notice of the hearing on Debtor and the Chapter 13 Trustee.

4.      The Application is denied.

5.      Other (specify):


                                                                        ###




                Date: June 15, 2022




          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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